302 F.2d 730
    PARTENWEEDEREI, MS BELGRANO, and Rudolph A. Oetker, Appellants,v.George WEIGEL, Appellee.BRADY-HAMILTON STEVEDORE COMPANY, Appellant,v.PARTENWEEDEREI, MS Belgrano, and Rudolph A. Oetker, Appellees.
    No. 17178.
    United States Court of Appeals Ninth Circuit.
    May 21, 1962.
    
      On Rehearing.
      Vacating in part judgment, 299 F.2d 897, which reversed D.C., 189 F.Supp. 103.
      Before JERTBERG, KOELSCH and DUNIWAY, Circuit Judges.
      PER CURIAM.
    
    
      1
      On February 8, 1962, this Court entered its judgment reversing the decree of the Court below dated May 31, 1960, in favor of appellee George Weigel and against appellants Partenweederei, MS Belgrano, and Rudolph A. Oetker and reversing, without consideration on the merits, the decree of indemnity of the Court below dated November 16, 1960, in favor of appellees Partenweederei, MS Belgrano, and Rudolph A. Oetker, and against appellant Brady-Hamilton Stevedore Company.
    
    
      2
      On April 9, 1962, this Court granted the petition of appellees Partenweederei, MS Belgrano, and Rudolph A. Oetker for a limited rehearing as to that part of the judgment of this Court relating to the decree of indemnity, and fixed May 14, 1962 as the date for oral argument on said petition, and on said day the matter was submitted to this Court for decision.
    
    
      3
      It now appears that appellee George Weigel intends to petition the Supreme Court of the United States for a writ of certiorari from the judgment of this Court dated February 18, 1962 reversing the decree of the Court below dated May 31, 1960.
    
    IT IS THEREFORE ORDERED:
    
      4
      1. That part of the judgment of this Court reversing the decree of indemnity dated November 16, 1960, is vacated and set aside, and re-submission thereof to this Court for decision is deferred until either the time for a petition by appellee Weigel to the Supreme Court of the United States has expired, or, if such petition is filed, until final action thereon by the Supreme Court of the United States;
    
    
      5
      2. If the Supreme Court of the United States shall grant a petition for certiorari and reverse the judgment of this Court relating to the decree dated May 31, 1960, then this Court will decide upon the merits, upon the briefs and records heretofore filed and without further argument, the appeal of Brady-Hamilton Stevedore Company from the decree of indemnity dated November 16, 1960;
    
    
      6
      3. The submission to this Court on May 14, 1962 for decision on rehearing of the petition of appellees Partenweederei, MS Belgrano, and Rudolph A. Oetker is vacated and re-submission thereof is deferred. If the time within which appellee Weigel can petition to the Supreme Court for a writ of certiorari shall expire, or if the Supreme Court shall affirm the judgment of this Court insofar as it relates to the decree dated May 31, 1960, then this Court will decide, upon the briefs and record now on file and without further argument, the question as to whether appellees Partenweederei, et al., are entitled to indemnity against Brady-Hamilton Stevedore Company for their costs of defending the action of Weigel against them in the Court below and in this Court.
    
    